         Case 2:18-cr-00026-JHS Document 53 Filed 06/04/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :

              v.                           :      CRIMINAL NO. 18-026

JUSTIN DAVID MAY                           :

                                          ORDER

              And now, this 3rd day of June, 2021, having considered the

government’s Motion to Dismiss Counts 21 through 30 of the Indictment, it is hereby

ORDERED that the government’s motion is GRANTED.

                                           BY THE COURT:



                                            /s/Joel H. Slomsky, J.
                                           HONORABLE JOEL H. SLOMSKY
                                           Judge, United States District Court
